Case 1:14-cr-00089-TSK-MJA Document 392 Filed 05/01/15 Page 1 of 4 PageID #: 1231



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                     CRIMINAL NO. 1:14CR89-13
                                                     (Judge Keeley)


  KEYARA PETERS,

                      Defendant.

             ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
            OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
         GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

         On   April   15,    2015,    defendant,      Keyara    Peters   (“Peters”),

  appeared before United States Magistrate Judge John S. Kaull and

  moved for permission to enter a plea of GUILTY to Count Eleven of

  the    Indictment.    Peters       stated    that   she   understood        that    the

  magistrate judge is not a United States District Judge, and

  consented to pleading before the magistrate judge.                  This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of    administering       the   allocution    pursuant       to   Federal    Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

         Based upon Peters’ statements during the plea hearing and the

  testimony of Sergeant John Rogers, the magistrate judge found that

  Peters was competent to enter a plea, that the plea was freely and

  voluntarily given, that she was aware of the nature of the charges
Case 1:14-cr-00089-TSK-MJA Document 392 Filed 05/01/15 Page 2 of 4 PageID #: 1232



  USA v. KEYARA PETERS                                             1:14CR89-13

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

  against her and the consequences of her plea, and that a factual

  basis existed for the tendered plea. On April 16, 2015, the

  magistrate judge entered an Opinion/Report and Recommendation

  Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 375)

  finding a factual basis for the plea and recommended that this

  Court    accept   Peters’   plea   of   guilty   to   Count   Eleven   of   the

  Indictment.

          The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. The magistrate judge further directed that

  failure to file objections would result in a waiver of the right to

  appeal from a judgment of this Court based on the R&R. After which,

  the parties did not file any objections.

          Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Peters’ guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count Eleven of the Indictment.

          Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



                                          2
Case 1:14-cr-00089-TSK-MJA Document 392 Filed 05/01/15 Page 3 of 4 PageID #: 1233



  USA v. KEYARA PETERS                                                  1:14CR89-13

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The    Probation     Officer     undertake       a        presentence

  investigation of KEYARA PETERS, and prepare a presentence report

  for the Court;

        2.    The Government and Peters are to provide their versions

  of the offense to the probation officer by May 11, 2015;

        3.    The presentence report is to be disclosed to Peters,

  defense counsel, and the United States on or before June 30, 2015;

  however, the Probation Officer is not to disclose the sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before July 14, 2015;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before July 28, 2015; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual    basis   from   the   statements   or   motions,       on    or   before

  August 11, 2015.




                                       3
Case 1:14-cr-00089-TSK-MJA Document 392 Filed 05/01/15 Page 4 of 4 PageID #: 1234



  USA v. KEYARA PETERS                                              1:14CR89-13

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        The magistrate judge continued Peters on bond pursuant to the

  Order Setting Conditions of Release (dkt. no. 49) entered on

  November 24, 2014.

        The   Court   will   conduct    the    sentencing    hearing      for   the

  defendant   on   Thursday,   August    20,    2015   at   1:30   P.M.    at   the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: May 1, 2015


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




                                         4
